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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

ROTHSCHILD DIGITAL                        )
CONFIRMATION, LLC,                        )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     ) C.A. No. 19-1109-MN
                                          )
COMPANYCAM, INC.,                         )
                                          )
               Defendant.                 )


            OPENING BRIEF IN SUPPORT OF COMPANYCAM, INC’S
           MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT



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         Defendant CompanyCam, Inc. (“CompanyCam”) respectfully files this Federal Rule of

Civil Procedure (“Rule”) 12(b) Motion to Dismiss as the claims of U.S. Patent No. 7,456,872 B2

(the “Asserted Patent” or the ’872 patent) are not patent eligible pursuant to 35 U.S.C. § 101.

    I.        SUMMARY OF THE ARGUMENT

         The United States Supreme Court and the Federal Circuit recognized the “significant

public policy interest in removing invalid patents from the public arena.” SmithKline Beecham

Corp. v. Apotex Corp., 403 F.3d 1331, 1354 (Fed. Cir. 2005 (collecting cases)). Further, “public

policy requires that only inventions which fully meet the statutory standards are entitled to

patents.” Id. at 1354. Indeed, “there is a stronger public interest in the elimination of invalid

patents than in the affirmation of a patent as valid.” Id. at 1355. Particularly where, as here, the

claims of the Asserted Patent are indistinguishable from claims repeatedly held to be patent

ineligible.

         Rothschild (the named inventor, “manager” of the shell Plaintiff LLC entity, and sole

owner of the Asserted Patent) admitted, repeatedly, that each of the modules of the claimed

invention are “standard” and “conventional”. In fact, the ’872 Patent employs the terms standard

and conventional twenty (20) times to describe the claimed ideas.

         Finally, a key policy consideration underlying Section 101 is the prohibition against

patenting long-standing human practices. Here, Rothschild admits that the ’872 patent covers an

activity that humans have long-since practiced: creating photo albums and organizing photos

thereon:

         Photographs are taken for a variety of personal and business reasons. During the course
         of the year, an individual may take numerous photographs of various events. During
         these events, quite often there is a variety of different individuals and items present in
         these photographs. In the prior art, when one desires to catalog these images in a
         particular order, they usually are left to placing these images manually into photograph
         albums. This is a very extensive, manual procedure requiring a significant amount of

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         time. In addition, it is very limited with regard to the amount of information that can be
         associated with the image in a quick and easy manner. While some photo albums allow
         the writing and placing of text, the entering of this data is a very time consuming and
         arduous affair. Once having sorted these images into particular albums which may
         represent categories of interest, it is extremely difficult to retrieve and/or reorganize the
         images into other categories.

’872 Patent, 1:31-47.

         The ’872 Patent merely takes something humans have been doing for ages and places

said human activity on a generic computer. The claims are not patent eligible.

   II.      STATEMENT OF FACTS AND NATURE AND STAGE OF THE

            PROCEEDINGS

         Plaintiff, Rothschild Digital Confirmation, LLC, filed this action on June 15, 2019

alleging infringement of the ’872 patent. (D.I. 1.) On August 5, 2019, Plaintiff filed an amended

complaint (D.I. 8.) This motion seeks to dismiss all claims in the amended complaint.

         The ’872 patent “relates generally to digital image and data processing, and more

particularly, to devices, systems and methods for embedding and retrieving information in digital

images and using the information to organize, process and control the digital images, where the

information may include location information, time and date information and user verification

information.” ’872, 1:22-28.

         Figures 1A and 1B of the ’872 patent are reproduced below:




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       Figures 1A and 1B are front and back views, respectively, of a device for

capturing digital images and embedding information in the captured images. ’872, 2:48–51.

       Claim 1 is representative of the Claims:

       1. A locational image verification device for verifying an assignment of a user

       comprising:

              a user verification module for verifying an identity of a user of the device,

              wherein upon verification, the user verification module enables operation of the

              device and provides an assignment to the user;

              a capture module for capturing an image relating to the assignment and creating

              a digital image file, wherein the user verification module verifies the identity of

              the user of the device at a time of the image capture;

              a locational information module for determining a location of the device when

              capturing the image;

              a date and time module for determining a date and time of the image capture;




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                   a processing module for associating the assignment, the user identity, location

                   information and the time and date to the digital image file; and

                   an encryption module for encrypting the digital image file and associated

                   information upon image capture.

’872, Claim 1 (emphasis added).1

            Upon review of the claim language, immediately one sees that the ’872 is not directed to

a specific improvement in the capabilities of computing devices. See Epic IP LLC v. Backblaze,

Inc., 351 F. Supp. 3d 733, 737 (D. Del. 2018) (collecting cases). The claims of the ’872 Patent

are draw toward generic implementation as opposed to specific technological solutions.

     III.      ARGUMENT

            Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718–19 (Fed. Cir. 2014) (Mayer, J.,

concurring); Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018), petition for cert.

filed, 2018 WL 4819013 (U.S. Sept. 28, 2018) (No. 18-415).

            Under the Alice calculus, courts must use a two-step approach mandated by the Supreme

Court. Alice Corp. Pty. Ltd. v. CLS Bank Int'l, 573 U.S. 208, 134 S. Ct. 2347, 2355 (2014).

First, a court must ask whether the claims are directed to a patent-ineligible abstract idea. Id. And

if they are, the court must then decide whether the claims add an “inventive concept”—“an

element or combination of elements that is ‘sufficient to ensure that the patent in practice



1
 Claim 1 is representative because all the claims are “substantially similar and linked to the
same abstract idea.” Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat'l Ass'n,
776 F.3d 1343, 1348 (Fed. Cir. 2014).
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amounts to significantly more than a patent upon the [abstract idea] itself.’” Id. (quoting Mayo v.

Prometheus, 566 U.S. 66, 73 (2012)). Unless these additional elements add something

significant to the abstract idea, the claims are ineligible. Id.

        Below, Defendant cites heavily from Secure Cam, LLC v. Tend Insights, Inc., 351 F.

Supp. 3d 1249 (N.D. Cal. 2018), a case on all fours with the case at-bar.

        A. Alice Step One

        At step one of the Alice analysis, the Court looks to the “character as a whole” of the

claims to determine whether it is directed to an abstract idea. Secure Cam, at 1254. Here, the

claims can be characterized as drawn toward capturing digital images related to an assignment,

stamping those images with information, and organizing said digital images accordingly.

        Claims drawn toward stamping information on digital images and organizing same have

repeatedly found to be abstract. See Secure Cam, at 1255-56; In re TLI Communications LLC

Patent Litigation, 823 F.3d 607, 613 (Fed. Cir. 2016). As in Secure Cam:

        the claims at issue do not describe a specific improvement to digital camera functionality.
        Rather the claims at issue describe “conventional or generic technology in a nascent but
        well-known environment.” The digital camera, processor and memory identified in the
        Patents-in-Suit are described in conventional and generic terms. The remaining
        element—the analysis module—is described in purely functional terms as a component
        configured to perform image data analysis and to automatically generate a category tag.
        This description of the analysis module is no different from the vague description of the
        server in TLI that the Federal Circuit found patent-ineligible.

Secure Cam, at 1255-56 (quoting TLI Comms, at 612-13).

        “[T]he claims at issue do not describe a specific improvement to digital camera

functionality. Rather the claims at issue describe ‘conventional or generic technology in a

nascent but well-known environment.’” Id.

        Rothchild’s own admissions in the ’872 specification makes clear that the claims are

drawn to conventional subject matter:

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                ’872 Claim 1                                     Rothschild’s Admissions

1. A locational image verification device for

verifying an assignment of a user comprising:

a user verification module for verifying an          “all of the information captured

identity of a user of the device, wherein upon       by the capture module 122 including the

verification, the user verification module           associated information from the auxiliary

enables operation of the device and provides         input module 126, e.g., time and date,

an assignment to the user;                           the user input module 124, e.g., an audio

                                                     stream, and the user verification module

                                                     132, the user's identity, would be

                                                     immediately encrypted by the encryption

                                                     module 140 (step 712). The encryption

                                                     module 140 will use standard code

                                                     encryption algorithms currently in use or

                                                     that will be in use in the future such as DES,

                                                     Triple DES, Blowfish, RSA, MD5, etc.”

                                                     14:50-58.

                                                     “The device 100 will also include a user

                                                     verification module . . . [such as a] finger

                                                     print reader, . . . [for example] the

                                                     BioTouch™ fingerprint reader commercially

                                                     available from Identix Incorporated of

                                                     Minnetonka, Minn.” 5:38–42;


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             ’872 Claim 1                           Rothschild’s Admissions



                                         “Using standard computer programming

                                         and processing, this database would then

                                         locate the stored digital image and associated

                                         files/information and also process the users

                                         request(s) regarding the digital image.”

                                         7:46-49.



                                         “The user will use the transmission module

                                         112 of the device 100 to receive information

                                         through the Global Computer Network from

                                         the user's office or supervisor as to the

                                         specific geographic assignments that the user

                                         has been given (step 704). In a preferred

                                         embodiment, this information will

                                         be transferred from the user’s office or

                                         supervisor from a standard relational

                                         database that will contain data on the specific

                                         locations that the user is expected to visit

                                         along with tasks associated with each

                                         location.” 13:58-61.




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                 ’872 Claim 1                                    Rothschild’s Admissions

a capture module for capturing an image                “The user will be able to scan the printed

relating to the assignment and creating a              digital images with the device 100 and the

digital image file, wherein the user                   scanning module 130 would scan in the

verification module verifies the identity of the       symbology and using standard computer

user of the device at a time of the image              programming and the computer processing

capture;                                               module, the device would translate the

                                                       symbology to extract the name of

                                                       the digital image and the file locations

                                                       (whether local or on the Global Computer

                                                       Network) of the digital image.” 7:32-38.

a locational information module for                    “The date and time module 136 will use

determining a location of the device when              standard computer chip processing

capturing the image;                                   technology widely in use, or alternatively,

                                                       input from locational information module

                                                       134, e.g., a GPS receiver, to supply the date

                                                       and time of the image capture.” 6:4-9.



                                                       “The locational information module 134 may

                                                       include a receiver and antenna employing

                                                       conventional locational information

                                                       processing technology such as Global

                                                       Positioning Satellite (GPS) Technology,


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                 ’872 Claim 1                            Rothschild’s Admissions

                                               Loran Technology, or any other available

                                               locational technology[.]” 5:54–63;

a date and time module for determining a       “The date and time module 136 will use

date and time of the image capture;            standard computer chip processing

                                               technology widely in use, or alternatively,

                                               input from locational information module

                                               134, e.g., a GPS receiver, to supply the date

                                               and time of the image capture.” 6:4-9.

a processing module for associating the        “Using standard computer programming

assignment, the user identity, location        and processing, this database would then

information and the time and date to the       locate the stored digital image and associated

digital image file; and                        files/information and also process the users

                                               request(s) regarding the digital image.” 7:46-

                                               49.



                                               “the local computer 402 will use relational

                                               database programming, e.g., Structured

                                               Query Language (SLQ), and standard

                                               computer processing power to respond to

                                               any user requests for each of the digital

                                               images. These requests include but are not

                                               limited to displaying the digital images in a


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                ’872 Claim 1                               Rothschild’s Admissions

                                                 particular sequence, or sorting the digital

                                                 images by owner, date, location, description,

                                                 etc.” 11:28-35.



                                                 “The device 100, 200 would scan in the

                                                 symbology and using standard computer

                                                 programming and computer processing,

                                                 translate the symbology to extract the name of

                                                 the digital image and the file locations

                                                 (whether local or on the Global Computer

                                                 Network) of the digital image, or

                                                 alternatively, the identifier of the record

                                                 relating to the image.” 12:30-35.

an encryption module for encrypting the          “The encryption module 140 will use

digital image file and associated information    standard code encryption algorithms

upon image capture.                              currently in use or that will be in use in the

                                                 future such as DES, Triple DES, Blowfish,

                                                 RSA, MD5, etc.” 14:50-58.



                                                 “The encryption module 140 will use

                                                 conventional code encryption algorithms

                                                 currently in use or that will be in use in the


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                  ’872 Claim 1                                Rothschild’s Admissions

                                                   future such as DES, Triple DES, Blowfish,

                                                   RSA, MD5, etc. to encrypt the data[.]” 6:32–

                                                   35;

       As in Secure Cam and TLI Communications, the claims of the ’872 Patent are drawn to

abstract ideas.

       B. Alice Step Two

       In evaluating step two, courts must “consider the elements of each claim both

individually and ‘as an ordered combination’” and assess whether there are additional features in

the claim that constitute an ‘inventive concept.’” Secure Cam, at 1256 (quoting Alice, 134 S.Ct.

at 2357). “It is well-settled that mere recitation of concrete, tangible components is insufficient

to confer patent eligibility to an otherwise abstract idea.” Id. (quoting In re TLI Commc'ns LLC

Patent Litig., 823 F.3d at 613).

       As in Secure Cam, “the invention could be implemented on a wide range of hardware.”

Secure Cam, at 1256. As Rothschild stated, twice: “It is to be understood that the present

disclosure may be implemented in various forms of hardware, software, firmware, special

purpose processors, or a combination thereof.” 3:56-59; 10:18-21.

       Put another way, the “module that does A, module that does B, module that does C”

“merely restate their individual functions—i.e., organizing, mapping, identifying, defining,

detecting, and modifying. That is to say, they merely describe the functions of the abstract idea

itself, without particularity. This is simply not enough under step two.” Intellectual Ventures I

LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1341 (Fed. Cir. 2017).




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          In sum, the physical components described in the claims do not add an inventive concept.

As the Federal Circuit has observed, “there is an important common-sense distinction between

ends sought and particular means of achieving them, between desired results (functions) and

particular ways of achieving (performing) them. The Patents-in-Suit describe the ends sought—

analyzing and automatically categorizing digital images—without offering a particular inventive

means of achieving this result.” Secure Cam, at 1257 (quoting Elec. Power Grp., LLC v. Alstom

S.A., 830 F.3d 1350 (Fed. Cir. 2016)).

    IV.      CONCLUSION

          The ’872 Patent purports to identify specific problems to be solved. ’872, 1:59-2:6. But,

’872 offers no specific technological solutions to those problems. The claims of the ’872 Patent

are not patent eligible.




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